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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                             :
                                   :       Chapter 11
FTX TRADING LTD., et al.,          :       Case No. 22-11068 (JTD)
                                   :
         Debtors.                  :       (Jointly Administered)
                                   :
                                   :

                    MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the
admission pro hac vice of Edward L. Schnitzer, Esquire of Montgomery McCracken Walker &
Rhoads LLP to represent Samuel Bankman-Fried in the above-captioned cases.

Dated: January 9, 2023                     /s/ Gregory T. Donilon
                                           Gregory T. Donilon (No. 4244)
                                           MONTGOMERY McCRACKEN
                                             WALKER & RHOADS LLP
                                           1105 N. Market Street, Suite 1500
                                           Wilmington, DE 19801
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                                           Email: gdonilon@mmwr.com
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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the State of New York, and I
am admitted to practice in the United States District Courts for the Northern, Eastern and Southern
Districts of New York and the Second Circuit Court of Appeals. I submit to the disciplinary
jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of
this action. I also certify that I am generally familiar with this Court’s Local Rules and with the
Standing Order for District Court Fund revised 8/31/16. I further certify that the annual fee of
$25.00 has been paid to the Clerk of Court for the District Court.


Dated: January 9, 2023                       /s/ Edward L. Schnitzer
                                             Edward L. Schnitzer
                                             MONTGOMERY McCRACKEN
                                               WALKER & RHOADS LLP
                                             437 Madison Avenue
                                             New York, NY 10022
                                             Telephone: (212) 551-7781
                                             Email: eschnitzer@mmwr.com


                               ORDER GRANTING MOTION

       IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




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